
GERSTEN, J.
(concurring in part and dissenting in part).
I concur in the denial of rehearing based upon the Court’s en banc opinion in Leslie v. Carnival Corporation, No. 3D06-2228, 22 So.3d 567, 2009 WL 4061430 (Fla. 3d DCA Nov. 25, 2009); however, I respectfully dissent on granting certification to the Florida Supreme Court for the following reasons. First, Leslie clearly sets forth that basic contract law governs this matter. Additionally, I do not believe that this case presents a question of great public importance necessitating certification to our supreme court. Therefore, I respect*567fully concur in the denial of rehearing and dissent from the grant of certification.
